                                                              United States District Court
                                                                 Southern District of Texas

                                                                    ENTERED
               IN THE UNITED STATES DISTRICT COURT
                                                                   August 18, 2020

               FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                 David J. Bradley, Clerk

                        HOUSTON DIVISION

RONALD JEFFREY PRIBLE,              §
            Petitioner,             §
                                    §
v.                                  §CIVIL ACTION No. 4:09-CV-1896
                                    § (Death Penalty Case)
BOBBY LUMPKIN,                      §
Director, Texas Department of       §
Criminal Justice, Correctional      §
Institutions Division,              §
                   Respondent.      §

                                 ORDER

     Petitioner’s Emergency Motion for Release on Bond is DENIED

     WITHOUT PREJUDICE.

     It is so ORDERED.

     SIGNED on this the __17th___ day of ____August______, 2020.


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                                 JUDGE PRESIDING
